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             ORDERED in the Southern District of Florida on May 2, 2019.




                                                                               Robert A. Mark, Judge
                                                                               United States Bankruptcy Court
    _____________________________________________________________________________



                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                     www.flsb.uscourts.gov

 In re: Margarita Casas-Rosell                                       Case No. 18-16080-RAM
                                                                     Chapter 13
                         Debtor(s)     /

   ORDER SUSTAINING DEBTOR’S OBJECTION TO CLAIM OF SPACE COAST CREDIT UNION
                      AND THE INDEPENDENT SAVINGS PLAN

         This matter having been considered without hearing upon the Debtor's Objection to Claim[s] of Space Coast
Credit Union and The Independent Savings Plan / c/o Michael D. Ginsberg, Esq [DE #_65___], and the objector by
submitting this form order having represented that the objection was served on the parties listed below, that the 30-day
response time provided by Local Rule 3007-1(D) has expired, that no one listed below has filed, or served on the objector,
a response to the objection, and that the relief to be granted in this order is the identical relief requested in the objection,
and this court having considered the basis for the objection to the claim, it is
ORDERED that Debtor's objection to the following claim is sustained:

Claim holder                                       Claim No.
Space Coast Credit Union                           5

Disposition: The claim is stricken and disallowed in its entirety.

Claim holder                                       Claim No.
The Independent Savings Plan /                     3
c/o Michael D. Ginsberg, Esq

Disposition: The claim is stricken and disallowed in its entirety.


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Submitted by:
Robert Sanchez, P.A.,
355 W 49 ST,
Hialeah, FL 33012
(305) 687-8008

Robert Sanchez, P.A shall serve a copy of the signed order on all required parties and file with the court a certificate of
service conforming with Local Rule 2002-1(F).




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